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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 21-cv-61163-ALTMAN/Hunt

  ERRON WILLIAMS,

          Plaintiff,
  v.

  HEALTHCARE REVENUE
  RECOVERY GROUP, LLC,

        Defendant.
  ________________________________/

                               ORDER SCHEDULING MEDIATION

          The parties filed a Notice of Selection of Mediator [ECF No. 15]. Mediation in this case shall

  be held before Steven R. Jaffe on February 9, 2022 10:00 AM via Zoom.

          Within three days of the mediation, the parties shall file a joint mediation report with the

  Court. The report shall indicate whether the case settled (in full or in part), whether it was adjourned,

  or whether the mediator declared an impasse. Failure to comply with this Order may result in

  sanctions, including dismissal without prejudice and without further notice.

          DONE AND ORDERED in Fort Lauderdale, Florida, this 6th day of July 2021.




                                                             _________________________________
                                                             ROY K. ALTMAN
                                                             UNITED STATES DISTRICT JUDGE
  cc:     counsel of record
